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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,             )
                                      )
               Plaintiff,             )       ORDER
                                      )
       vs.                            )
                                      )
Kayla Renee Keyes,                    )       Case No. 1:18-cr-123 and 1:20-cr-075
                                      )
               Defendant.             )


       Defendant is charged in a petition with violating her conditions of supervised release in Case

No. 1:18-cr-123. She is also charged in Case No. 1:20-cr-075 with the commission of the following

two offenses while on supervised release: (1) conspiracy to distribute and possess with intent to

distribute controlled substances in violation of 21 U.S.C. § 846; and (2) maintaining a drug involved

premises in violation of 21 U.S.C. §§ 856(a)(1) and 856(b). She was ordered detained following a

detention hearing on June 12, 2020.

       On June 19, 2020, defendant filed Motions for Reconsideration in both of her cases. (Case

No. 1:18-cr-123, Doc. No. 160; Case no. 1:20-cr-075, Doc. No. 15). She advises that she has been

accepted to an inpatient treatment program at the Florida Center for Recovery, Inc., in Fort Pierce,

Florida. She requests to be released to travel to and participate in this treatment program.

       On June 20, 2020, the United States file responses in opposition to defendants’ motions. It

asserts that defendant is not an appropriate candidate for treatment release given, among other

things, her failure to acknowledge her need for treatment, her demonstrated inability to comply with

this court’s orders, and her continued engagement in criminal activity.

       The court finds there have been no material change in defendant’s circumstances to warrant



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her release. Defendant has not met her burden in Case No. 1:18-cr-123 and demonstrated by the

requisite evidence that she poses neither a danger nor a flight risk. Moreover, there is the

presumption of detention in Case No. 1:20-cr-075 that defendant has failed too rebut. There is also

the Grand Jury’s finding of probable cause in Case No. 1:20-cr-075 that defendant was engaging in

criminal conduct while she was on supervised release and the apparent strength of the United

States’ case. Defendants’ motions for reconsideration (Case No. 1:18-cr-123, Doc. No. 160; Case

No. 1:20-cr-075, Doc. No. 15) are therefore DENIED.

       IT IS SO ORDERED.

       Dated this 22nd day of June, 2020.

                                             /s/ Clare R. Hochhalter
                                             Clare R. Hochhalter, Magistrate Judge
                                             United States District Court




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